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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

  NAVY SEAL 1, et al., for themselves         )
  and all others similarly situated,          )
                                              )
                       Plaintiffs,            )
  v.                                          )       No. 8:21-cv-2429-SDM-TGW
                                              )
  LLOYD AUSTIN, in his official               )
  capacity as Secretary of the United         )
  States Department of Defense, et al.,       )
                                              )
                       Defendants.            )

            PLAINTIFFS’ PRELIMINARY RESPONSE TO
   DEFENDANTS’ EMERGENCY MOTION FOR STAY PENDING APPEAL
          AND FOR IMMEDIATE ADMINISTRATIVE STAY

       Plaintiffs file this preliminary response to Defendants’ Emergency Motion for

 Stay Pending Appeal and for Immediate Administrative Stay (Doc. 118). The Court

 should deny the stay motion out of hand. But if the Court is inclined to give the stay

 motion full consideration, then Plaintiffs request a reasonable opportunity to file a full

 response, on or before this Monday, March 7.

       1.     The stay motion presents nothing new. It repackages the same discredited

 testimony and flawed arguments already rejected by the Court in its Preliminary

 Injunction and Order (Doc. 111, the “PI Order”). Just yesterday the Fifth Circuit

 denied the Government’s motion for a stay of a preliminary injunction order

 substantially similar to this Court’s PI Order, as to both record facts and legal analysis,

 in U.S. Navy Seals 1–26 v. Biden, No. 22-10077, 2022 WL 594375 (5th Cir. Feb. 28,

 2022) (denying stay of order enjoining the Secretaries of Defense and the Navy “from
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 enforcing certain COVID-19 vaccination requirements against 35 Navy special

 warfare personnel and prohibit[ing] any adverse actions based on their religious

 accommodation requests,” reported at U.S. Navy Seals 1-26 v. Biden, No. 4:21-cv-01236-

 O, 2022 WL 34443 (N.D. Tex. Jan 3, 2022)). The Fifth Circuit rejected the

 Government’s justiciability and merits arguments, and observed, “Defendants identify

 no instance where a Plaintiff's vaccination status—or any service member’s

 vaccination status—compromised a . . . mission.” 2022 WL 594375, at *3.

 Defendants’ position is the same in this case, and the same result should obtain.

        2.     Just like the supposed obstacles to deploying unvaccinated service

 members, the “emergency” is of Defendants’ own creation and not deserving of the

 Court’s heed. Defendants waited a full week to appeal the PI Order (Doc. 115), and

 another 3 days to file their “emergency” stay motion. Defendants ask the Court for its

 decision in just 2 days (Doc. 118 at 2), effectively giving Plaintiffs just 1 day to respond.

 Defendants have identified no justification for such emergency treatment. Defendants,

 not the Court, sidelined Navy Commander Surface Warfare Officer’s destroyer.1 (Doc.



 1
         Defendants’ insistence that Navy Commander Surface Warfare Officer cannot
 command his ship (Doc. 118 at 15–16) reeks of petty retaliation and contempt of this
 Court’s PI Order prohibiting such retaliation. The Navy’s feigned “loss of confidence”
 in the Commander is patently pretextual and has everything to do with the
 Commander’s lawful and orderly attempt to obtain judicial relief from an
 unconstitutional mandate. Defendants have not, and cannot, justify sidelining a
 destroyer based on the Commander’s unvaccinated status when the ship was
 underway for more than 300 days during 400 days of the pandemic when no vaccine
 was available, with no operational impediment. (Hr’g Tr., Doc. 112, at 30:15–21.) If
 there is injury to the Navy from shutting down the Commander’s ship, it is self-
 inflicted and intentional.


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 118 at 1, 15–16.) Defendants, not the Court, have imposed status restrictions on

 Marine Lieutenant Colonel 2’s ability to travel. (Doc. 118 at 12–13, 17.) Defendants

 do not need emergency relief from the Court to remove these self-imposed

 impediments. If the Court is inclined to give the stay motion full consideration, instead

 of denying the motion out of hand as it deserves, then Plaintiffs request a reasonable,

 though still expedited opportunity to file a full response, on or before this Monday,

 March 7.



       Respectfully submitted,

                                                /s/ Roger K. Gannam
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